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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

LULAC, et. al.,                             §
                                            §
        Plaintiffs                          §
                                            §
        Alexander Green, and Jasmine        §
              Crockett                      §
                                            §
               Plaintiff-Intervenors        §
                                            §        Case No.: 3-21-CV-00259-DCG-
                                            §              JES-JVB [Lead Case]
v.                                          §
                                            §
GREG ABBOTT, in his official capacity       §
As Governor of Texas, et. al.               §
                                            §
               Defendants                   §



                     UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

TO THE HONORABLE COURT:

COMES NOW Nickolas A. Spencer, J.D., MA, Attorney and Counselor at Law, and respectfully
moves this Court for an order permitting withdrawal as counsel for the Congressional Intervenors
in the above-styled cause, and in support thereof would show the Court as follows:

Federal Rule of Civil Procedure 11(b) and Local Rules of the Western District of Texas govern
attorney withdrawal from federal litigation. An attorney may withdraw from representation with
court approval when withdrawal can be accomplished without material adverse effect on the
interests of the client. The Court must consider whether withdrawal would unduly delay the
proceedings or prejudice the parties.

Additionally, Texas Disciplinary Rules of Professional Conduct Rule 1.15 governs the termination
of representation, requiring that withdrawal not materially adversely affect the client's interests
unless the client consents or withdrawal is permitted or required by law.

Undersigned counsel seeks to withdraw as attorney of record for Congressional Intervenors Eddie
Bernice Johnson, Sheila Jackson Lee, Alexander Green, and Jasmine Crockett in the above-styled
redistricting litigation1.

Procedural Posture: This case involves challenges to Texas Congressional District Plan C2193
under the Fourteenth Amendment and Fifteenth Amendment. The case has progressed through

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significant discovery, including depositions of key witnesses such as Representative Jasmine
Crockett1 and expert witnesses.

The withdrawal is sought in good faith and not for purposes of delay or tactical advantage.

Client Protection: The Congressional Intervenors will continue to be represented by co-counsel
Gary L. Bledsoe of The Bledsoe Law Firm, PLLC, who has been actively participating in this
litigation as evidenced by his representation of Representative Crockett during her deposition1. Mr.
Bledsoe is fully familiar with the case and capable of continuing representation without interruption.

No Prejudice: Withdrawal at this time will not prejudice the Congressional Intervenors or other
parties. Co-counsel remains available to continue zealous representation, and no critical deadlines
are immediately pending that would be adversely affected by undersigned's withdrawal.

                                         Conclusion
Based on the foregoing, withdrawal can be accomplished without material adverse effect on the
Congressional Intervenors' interests, as competent co-counsel remains to continue representation.
The motion serves judicial economy by clarifying counsel of record without disrupting the litigation.

WHEREFORE, PREMISES CONSIDERED, Movant respectfully requests that this Court grant
this Motion to Withdraw and remove Nickolas A. Spencer as attorney of record for the
Congressional Intervenors in this cause.

                                                                     Respectfully submitted,

                                                                     NICKOLAS A. SPENCER
                                                                     Spencer & Associates, PLLC
                                                                     808 Travis Street, Suite 100
                                                                     Houston, TX 77002
                                                                     nas@naslegal.com
                                                                     713-863-1409


                                 Certificate of Service
I hereby certify that a true and correct copy of the foregoing Motion to Withdraw has been served
via ecf to all associated parties.

                                      Respectfully Submitted,

                                                      By: /s/ Gary Bledsoe_________________

                                                                     NICKOLAS A. SPENCER
                                                                     Spencer & Associates, PLLC
                                                                     808 Travis Street, Suite 100

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                                                  Houston, TX 77002
                                                  nas@naslegal.com
                                                  713-863-1409




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